996 F.2d 1211
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Milton MCCRAY, Petitioner-Appellant,v.Warden SMITH;  Attorney General of the State of Maryland,Respondents-Appellees.
    No. 93-6414.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 7, 1993.Decided:  June 28, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-93-711-MJG)
      Milton McCray, Appellant Pro Se.
      D.Md.
      DISMISSED.
      Before HALL, WILKINSON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Milton McCray seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.*  McCray v. Smith, No. CA-93-711-MJG (D. Md. Mar. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         The district court construed this petition as a request for reconsideration of a previous dismissal based on failure to exhaust state court remedies, and dismissed this action without prejudice.  We find no abuse of discretion or error in that course of action
      
    
    